
SWING, J.
We think that the finding of the court aS to the facts in this cas9 may be considered as having found that McDonald performed labor as an operative for the plumbing company within twelve months preceding the assignment, although the finding is not very definitely made.
As to the question whether McDonald is entitled to the benefit of this statute, we are of the opinion that he is. It being admitted that McDonald’s claim is a valid claim against the assigned estate, the act of the legislature makes it a preferred claim. This preference is not created by himjas a director of *700the corporation, or by other directors of the corporation acting with him or for him, but the statute creates it.
John Marshall Smedes, for appellant.
Peek, Shaffer &amp; Peck, for appellee.
The claim itself undoubtedly arose out of a contract made by him while a director of the corporation with the corporation; but whether the contiact itself was valid or invalid is not open to question, for the court found the claim a valid one, and being a valid claim and being for work performed by an operative, the law says it is a preferred claim. The statute makes no exception, and we see no reason why one should be made, the court having found that there was no infirmity attaching to the contract by reason of McDonald having been a director.
